       Case 3:17-cr-30120-NJR Document 1 Filed 07/12/17 Page 1 of 3 Page ID #1

                                                                                    SUPPRESSED
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                                )

                   Plaintiff,
                                                         )
                                                         )   CRIMINAL NO.
                                                                                -f l    c~ ttJ ~ _j \)&fl'\ l.r

        vs.
                                                         )
                                                         )
                                                                                   I 7 - "3 0 I z_ 0 ' b R          t+
                                                         )
ANTHONETTE STROWDER,                                     )
a/k/a "Big Mama,"                                        )    Title 21, United States Code,
                                                         )    Sections 841 and 846
                   Defendant.                            )

                                             INDICTMENT                                   FILED
THE GRAND JURY CHARGES:
                                                                                          JUL 1 2 2017
                                                COUNT 1                            Clf:RK, U.S . DISTRICT COURT
                                                                                 SOU THEi~l\lDISTRICT OF ILLINOIS
                                                                                         :3EN iuN OFFICE
                                Conspiracy To Distribute Methamphetamine

        From on or about January 2016, until on or about June 15, 2017, in Marion County, within the

Southern District of Illinois, and elsewhere,

                                      ANTHONETTE STROWDER,
                                          a/k/a "Big Mama,"

defendant herein, did knowingly combine, conspire, and agree with others known and unknown to the

Grand Jury, to know ingly and intentionally distribute methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841 (a)( 1); all in violation of Title 21 ,

United States Code, Section 846.

        It is further alleged that the total amount of mixture and substance containing

methamphetamine involved in the conspiracy was fifty (50) grams or more of methamphetamine

(Ice), or five hundred (500) grams or more of a mixture and substance containing a detectable amount

of methamphetamine, punishable pursuant to the provisions of Title 2 1, United States Code, Section

841 (b)( I )(A).




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       Case 3:17-cr-30120-NJR Document 1 Filed 07/12/17 Page 2 of 3 Page ID #2


                                               COUNT2

                       Possession With Intent to Distribute Methamphetamine

         On or about June 15, 20 17, in Marion County, within the Southern District of Illinois,

                                    ANTHONETTE STROWDER,
                                        a/k/a "Big Mama,"

defendant herein, did knowingly and intentionally possess with the intent to distribute a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,

in violation ofTitle 21, United States Code, Sections 841(a)(1).

         It is further alleged that the total amount of mixture and substance containing

methamphetamine possessed by the defendant was five (5) grams or more of methamphetamine (Ice),

or fifty (50) grams or more of a mixture and substance containing a detectable amount of

methamphetamine, punishable pursuant to the provisions of Title 2 1, Un ited States Code, Section

84 1(b)( I )(B).



                                               COUNT3

                                  Distribution of Methamphetamine

         On or about June 13, 2017, in Marion County, within the Southern District of Illinois,

                                    ANTHONETTE STROWDER,
                                        a/k/a "Big Mama,"

defendant herein, did knowingly and intentionally distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title 21,

United States Code, Sections 841 (a)(l) and 841 (b )(I )(C).




                                                    2
      Case 3:17-cr-30120-NJR Document 1 Filed 07/12/17 Page 3 of 3 Page ID #3


                                               COUNT4

                                   Distribution of Methamphetamine

       On or about J une 14,2017, in Marion County, wi thin the Southern District of Illinois,

                                    ANTHONETTE STROWDER,
                                        a/k/a " Big Mama,"

defendant herein, did knowingly and intentionally distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II Controlled Substance, in vio lation of Title 21,

United States Code, Sections 84l(a)(l) and 84l (b)( l )(C).




                                                       A TRUE BILL:



                                                       FOREPERSON



DONALD S. BOYCE




Assistant United States Attorney


Recommended Bond: Detention




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